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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

TRUSTEES of the IRON WORKERS                   )
TRI-STATE WELFARE PLAN,                        )
                                               )
                             Plaintiffs,       )      CIVIL ACTION
                                               )
       v.                                      )
                                               )
CALACCI CONSTRUCTION CO., INC.                 )
                                               )
                             Defendant.        )

                                       COMPLAINT
       Plaintiffs, TRUSTEES of the IRON WORKERS TRI-STATE WELFARE PLAN,
(“Trust Fund”), by its attorney, Daniel P. McAnally, complain of the Defendant,
CALACCI CONSTRUCTION CO., INC. and allege as follows:
       1.      This action arises under Section 502 of the Employee Retirement Income

Security Act ("ERISA") (29 U.S.C. §1132). Jurisdiction is founded on the existence of

questions arising thereunder.

       2.      The Trust Fund receives contributions from numerous employers

pursuant to Collective Bargaining Agreements between the employers and the

International Association of Bridge, Structural and Ornamental and Reinforcing Iron

Workers (“Union”), and therefore are multi-employer plans. (29 U.S.C. §1002). The

Trust Fund is administered in Lansing, Illinois and venue is proper in the Northern

District of Illinois.

       3.      The Defendant is an employer engaged in an industry affecting commerce

which entered into an Agreement whereby it agreed to be bound by the provisions of a

Collective Bargaining Agreement with the Union and to any subsequent Collective

Bargaining Agreements.
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      4.     The Collective Bargaining Agreement also binds the Defendant to the

provisions of the Agreements and Declarations of Trust which created the Trust Fund.

      5.     The Collective Bargaining Agreement and Trust Agreement requires the

Defendant to submit monthly reports listing the hours worked by its iron worker

employees ("monthly contribution reports") and to make concurrent payment of

contributions to the Trust Fund based upon the hours worked by its iron worker

employees.

      6.     The Defendant breached the Collective Bargaining Agreement and Trust

Agreements by failing to pay fringe benefit contributions in the amount of $6,144.22 for

the period June 2019 and July 2019 and liquidated damages on these unpaid amounts

and on previously paid amounts.

      7.     Plaintiffs have complied with all conditions precedent in bringing this suit.

      8.     Plaintiffs have been required to employ the undersigned attorneys to

collect the monies that may be found to be due and owing from Defendant.

      9.     Defendant is obligated to pay the attorney fees and court costs incurred by

the Plaintiffs pursuant to 29 U.S.C. §1132(g)(2)(D).

      10.    Pursuant to 29 U.S.C. §1132(g)(2)(B), the Plaintiffs are entitled to interest

on any monies that may be found to be due and owing from the Defendant.




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       11.    Pursuant to 29 U.S.C. §1132(g)(2)(C), Plaintiffs are entitled to an amount

equal to the greater of:

              a)     double interest on the unpaid contributions; or

              b)     interest plus liquidated damages provided for under the
                     Trust Agreements not in excess of 20% of amount that is
                     due.

       12.    Pursuant to the Trust Agreements, Plaintiffs are entitled to liquidated

damages at the rate of 1.5% compounded monthly.

WHEREFORE, Plaintiffs pray:

       a)     That the Defendant be ordered to pay $6,144.22 representing
              contributions for the period June 2019 and July 2019.
       b)     That the Defendant be ordered to pay liquidated damages pursuant to the
              Trust Agreements.
       c)     That the Defendant be ordered to pay interest on the amount that is due
              pursuant to 29 U.S.C. §1132 (g)(2)(B).
       d)     That the Defendant be ordered to pay interest or liquidated damages on
              the amount that is due pursuant to 29 U.S.C. §1132 (g)(2)(C).
       e)     That the Defendant be ordered to pay the reasonable attorney's fees and
              costs incurred by the Plaintiffs pursuant to the Trust Agreements and 29
              U.S.C. §1132 (g)(2)(D).
       f)     That Plaintiffs have such other and further relief as by the Court may be
              deemed just and equitable all at the Defendant's costs pursuant to 29
              U.S.C. §1132(g)(2)(E).


                                  Respectfully Submitted,

                                  By:    s/ Daniel P. McAnally

                                         Attorney for Plaintiffs

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